Case 25-11005-MEH        Doc 26    Filed 05/22/25 Entered 05/22/25 11:17:40          Desc Main
                                  Document      Page 1 of 2



THE KELLY FIRM, P.C.
Andrew J. Kelly, Esq.
Stephen A. Schwimmer, Esq.
1011 Highway 71, Suite 200
Spring Lake, New Jersey 07762
(732) 449-0525
akelly@kbtlaw.com
sschwimmer@kbtlaw.com
Attorneys for the Debtor-in-Possession, 6 Sunset Lane, LLC

                                                            UNITED STATES
                                                          BANKRUPTCY COURT
                                                        DISTRICT OF NEW JERSEY
 IN RE:
                                                                   Chapter 11
 6 SUNSET LANE, LLC,
                                                             Case No. 25-11005-MEH
               Debtor-in-Possession.
                                                       Judge: Hon. Mark E. Hall, U.S.B.J.

                                                    NOTICE OF MOTOIN FOR AN ORDER
                                                          EXPUNGING CLAIM 3

                                                    Hearing Date: June 16, 2025 at 10:00a.m.

TO:    ALL PARTIES ON THE ATTACHED SERVICE LIST

SIR/MADAM:

       PLEASE TAKE NOTICE, that on June 16, 2025, at 10:00 a.m. in the forenoon, or as soon

thereafter as counsel may be heard, the undersigned attorneys for the Debtor, 6 Sunset Lane, LLC

(the “Debtor”), will move before the Honorable Mark E. Hall, United States Bankruptcy Judge, at

the United States Bankruptcy Court, 402 East State Street, Courtroom #2, Trenton, New Jersey

08608, for an Order expunging Claim 3 pursuant to 11 U.S.C. §502.

       PLEASE TAKE FURTHER NOTICE, that the undersigned will rely upon the Certification

of Frank Rubba submitted herewith in support of the requested relief.
Case 25-11005-MEH         Doc 26     Filed 05/22/25 Entered 05/22/25 11:17:40             Desc Main
                                    Document      Page 2 of 2



       PLEASE TAKE FURTHER NOTICE, that in accordance with D.N.J. L.B.R. 9013-1(f),

the Debtor specifically waives oral argument unless timely opposition is filed, whereupon the

Debtor specifically requests oral argument.

       PLEASE TAKE FURTHER NOTICE, that in accordance with D.N.J. L.B.R. 9013-1(e),

no brief is necessary in support of this Motion in as much as no difficult or novel issues are raised.

In the event such issues are raised, Debtor reserves the right to file an appropriate brief within any

time period set by the Court.

       PLEASE TAKE FURTHER NOTICE, that a proposed form of Order is annexed hereto.



                                               THE KELLY FIRM, P.C.
                                               Attorneys for Debtor-in-Possession,
                                               6 Sunset Lane, LLC
Dated: May 22, 2025
                                       By:     /s/ Stephen A. Schwimmer
                                               STEPHEN A. SCHWIMMER
